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                        EXHIBIT 03
                                          Call next week           l::.XHll:SI I u;:s
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Subject: Call next week
From: Heidi Brown <heidimparis@gmail.com>
Date: 13/04/2024 14:29
To: Arnaud Paris <aparis@sysmicfilms.com>, Arnaud Paris <arnaud@skyvr.com>

Arnaud,

The girls have been missing having me in their lives on a regular basis as well as their
American family and friends so we decided to go back to the US.

I will have the girls call you next week on Tuesday, between 6 and 8pm.

Heidi




                                                                  EXHIBIT 03 - PAGE 1 OF 1
